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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,               )
                                     )
     Plaintiffs,                     )
                                     )       CIVIL ACTION NO.
     v.                              )         2:14cv601-MHT
                                     )              (WO)
JEFFERSON S. DUNN, in his            )
official capacity as                 )
Commissioner of                      )
the Alabama Department of            )
Corrections, et al.,                 )
                                     )
     Defendants.                     )

               PHASE 2A OMNIBUS REMEDIAL ORDER

    In    accordance     with    the     three   remedial     opinions

entered today, it is the ORDER, JUDGMENT, and DECREE of

the court that defendants Jefferson S. Dunn and Deborah

Crook, in their official capacities, are ENJOINED and

RESTRAINED from failing to do the following:

1. Definitions

  1.1.    “ADOC”    refers      to   the   Alabama    Department         of

     Corrections.       While the court refers to the ADOC

     often in this order, its order is directed to the



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  defendants; thus, when the court says that “ADOC”

  shall take a certain action, it means that the

  defendants must ensure that it takes that action.

1.2.   “ADOC major facility” refers to one or more of

  the major adult correctional facilities operated by

  or on behalf of ADOC, excluding any community-based

  facilities and community work centers.                 ADOC major

  facilities         presently        include        Bibb      County

  Correctional         Facility,         Bullock       Correctional

  Facility, Donaldson Correctional Facility, Draper

  Correctional        Facility,       Easterling       Correctional

  Facility,      Elmore    Correctional       Facility,     Fountain

  Correctional Facility, Hamilton Aged and Infirmed

  Center,       Holman      Correctional        Facility,       Kilby

  Correctional        Facility,        Limestone       Correctional

  Facility, St. Clair Correctional Facility, Staton

  Correctional Facility, Tutwiler Prison for Women,

  and Ventress Correctional Facility.

1.3.   “Effective date” refers to 42 days after the

  entry of this omnibus remedial order.



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2. Staffing

  2.1.    Correctional Staffing

    2.1.1.     In    accordance         with   the    court’s     previous

         order (Doc. 1657) directing it to comply with the

         recommendations       of   Margaret         and    Merle     Savage

         (Doc. 1813-1), ADOC must create an agency staffing

         unit that will “write policy, enforce the staffing

         decisions mandated by the court’s order, and take

         steps so that another staffing analysis can be

         conducted for every facility,” Doc. 1813-1 at 100.

    2.1.2.     ADOC must work with the Savages to update

         its staffing analysis.

    2.1.3.     Within 21 days of the effective date, the

         defendants are to submit to the court a proposal

         for specific dates by which each of the above two

         provisions can be accomplished.

    2.1.4.     By    July    1,     2025,      ADOC    must     fill     all

         mandatory     and    essential        posts       at   the    level

         indicated in the most recent staffing analysis at

         that time.



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  2.1.5.      By May 2, 2022, the defendants must develop

      in collaboration with the Savages, and submit to

      the court, realistic benchmarks for the level of

      correctional          staffing      ADOC    will     attain      by

      December       31    of    2022,   2023,   and   2024.      These

      benchmarks          must    prioritize     filling    mandatory

      posts and staffing the mental-health hubs and

      intake facilities, and must put ADOC on track to

      fill all mandatory and essential posts by July 1,

      2025.

  2.1.6.      ADOC        must   submit    correctional        staffing

      reports to the court and the EMT on at least a

      quarterly basis.             It may work with the EMT to

      develop the format of these reports.                     However,

      until ADOC and the EMT have finalized a new report

      format or else concluded that the existing report

      format is adequate, ADOC shall continue to provide

      mental-health staffing reports according to the

      format currently in place.

  2.1.7.      Ameliorating the Effects of Understaffing



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    2.1.7.1.       ADOC must check SU, suicide watch, and

          RHU cells for suicide resistance whenever such

          cells receive new occupants.

    2.1.7.2.       ADOC must conduct a thorough check of

          all SU, suicide watch, and RHU cells at least

          once per quarter to verify that they satisfy

          every element of the Hayes checklist (Doc.

          3206-5).        These checks must be documented.

    2.1.7.3.       By May 2, 2022, the parties must submit

          proposals that will allow ADOC’s RHUs--with

          the    exception        of     the    RHU     at    Tutwiler--to

          function safely with the correctional staff

          that ADOC currently employs.                  These proposals

          must address the following:

       2.1.7.3.1.           How ADOC shall address the serious

                risk   of    harm       to    inmates    in    restrictive

                housing     caused       by    correctional       staffing

                deficits     so     severe      that     the    consistent

                provision of security checks, out-of-cell




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              time and mental-health treatment is simply

              impossible.

       2.1.7.3.2.        How    ADOC     will   ensure     that    any

              inmates moved out of the RHUs do not end up

              in functionally identical units--that is,

              units    that    offer     equivalently      deficient

              levels of monitoring, out-of-cell time, and

              treatment.

       2.1.7.3.3.        How ADOC will ensure the safety of

              inmates in the RHUs who require protective

              custody, and, if it chooses to reduce the

              number of inmates in the RHUs, how it will

              manage the dangers posed by inmates who

              would    present       a   significant      safety       or

              security risk in general population.

       2.1.7.3.4.        How this relief may be modified if

              ADOC meets the benchmarks for correctional

              staffing set forth above.

  2.1.8.     Correctional Staff Positions




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       2.1.8.1.       Basic     Correctional        Officers      (BCOs)

             cannot     staff    positions       requiring      firearms

             training, including, but not limited to, tower

             posts,     perimeter       posts,      perimeter    patrol

             posts, transportation posts, and armory posts.

       2.1.8.2.       Cubicle Correctional Operators (CCOs)

             cannot staff any position other than secure

             control    room     posts    with    no    direct   inmate

             contact.

2.2.     Mental-Health Staffing

  2.2.1.       ADOC must maintain levels of mental-health

       staffing consistent with or greater than those

       called for by the staffing ratios developed by

       its    consultants,          subject    to      any   subsequent

       modifications.

  2.2.2.       The EMT shall review the staffing ratios

       beginning       one      year    from     the    initiation     of

       monitoring            and,        if      necessary,          make

       recommendations for revising them.




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    2.2.3.       ADOC must achieve the staffing levels set

         forth in the staffing matrix previously approved

         by the court, see Phase 2A Order and Injunction

         on   Mental-Health      Staffing     Remedy    (Doc.    2688),

         subject to any subsequent modifications, June 1,

         2025.

    2.2.4.       ADOC   must   submit     mental-health       staffing

         reports to the court and the EMT on at least a

         quarterly basis.         It may work with the EMT to

         develop the format of these reports.                 However,

         until ADOC and the EMT have finalized a new report

         format or else concluded that the existing report

         format is adequate, ADOC shall continue to provide

         mental-health staffing reports according to the

         format currently in place.

3. Restrictive Housing Units

  3.1.    Exceptional Circumstances

    3.1.1.       Inmates with serious mental illnesses may

         not be placed in the RHUs unless a documented

         exceptional circumstance applies.



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    3.1.1.1.       An     “exceptional          circumstance”       exists

           where: (a) a safety or security issue prevents

           placement of the inmate in alternative housing

           (such    as    a    SU,       RTU,    or   SLU);    or   (b)    a

           non-safety or non-security issue exists and

           transfer       or   transportation          to     alternative

           housing is temporarily unavailable.                   Examples

           of    safety    and    security        issues      include     an

           inmate’s       known          or     unknown     enemies       in

           alternative housing or the inmate’s creation

           of a dangerous environment (to the inmate,

           other inmates, and/or staff) by his or her

           presence in alternative housing.

  3.1.2.        An inmate placed in a RHU for safety or

      security issues for 72 hours or longer will be

      offered at least three hours of out-of-cell time

      per day (which may be congregate out-of-cell time)

      while he or she remains in the RHU.




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  3.1.3.      An inmate placed in a RHU for non-safety or

       non-security issues must be removed from the RHU

       within 72 hours.

  3.1.4.      Every week, ADOC must file with the court

       and the monitoring team reports on each prisoner

       who has been in restrictive housing for longer

       than   72   hours    under     exceptional     circumstances

       during that week.          These reports must indicate

       the amount of out-of-cell time offered to the

       prisoner each day, the nature of the out-of-cell

       time (i.e., exercise, group therapy, etc.), the

       exceptional         circumstance         justifying          the

       prisoner’s continued segregation placement, and

       the date by which ADOC expects that exceptional

       circumstance to be resolved.

3.2.    Screening for Serious Mental Illnesses

  3.2.1.      Before being placed in a RHU, each inmate

       must be screened by an RN, or an LPN under an RN’s

       supervision.        The screening must assess whether

       the inmate has been flagged as seriously mentally



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      ill; whether the inmate is at imminent risk of

      suicide or serious self-harm; whether the inmate

      exhibits      debilitating       symptoms       of   a    serious

      mental illness; and whether the inmate requires

      emergency      medical     care.        The    results     of    the

      screening must be used to determine whether the

      inmate should be placed in restrictive housing

      and whether the inmate requires a medical and/or

      mental-health referral.

  3.2.2.      If mental-health staff determine that an

      inmate who has yet to be placed in restrictive

      housing      is      contraindicated          for    restrictive

      housing,      that    inmate     must    not    be    placed      in

      restrictive          housing       absent       a     documented

      exceptional circumstance.

  3.2.3.      If mental-health staff determine that an

      inmate who has already been placed in restrictive

      housing       is      contraindicated          for       continued

      placement there, as evidenced by changes in the

      inmate’s      mental     state     and    functioning,          that



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       inmate must be removed from restrictive housing

       within 72 hours--or sooner, if a                psychiatrist,

       psychologist, CRNP, or counselor determines that

       the   need     for    removal      of    the     inmate    from

       restrictive        housing       is     urgent--absent           a

       documented exceptional circumstance.

3.3.    Mental-Health Rounds

  3.3.1.      Mental-health rounds must be conducted by a

       qualified mental-health professional in each RHU

       at least weekly, and should generally include a

       discussion with the post officer(s) concerning

       any changes in the behavior of inmates in the RHU;

       a review of duty post logs and segregation unit

       record    sheets     for    information      about    inmates’

       participation        in    recreation,         showers,    meal

       consumption and sleep patterns; a walk through

       the RHU, with stops at each occupied cell to make

       visual contact with the inmate inside the cell;

       attempts     to    verbally      communicate       with    each

       inmate, including a brief inquiry into how the



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       inmate    is   doing     and    whether     the   inmate     has

       mental-health needs or a desire to speak with

       mental-health       staff      privately;     and    a    brief

       assessment of each inmate’s hygiene, behavior,

       affect, and physical condition, and the condition

       of his or her cell.

  3.3.2.      Mental-health rounds must be appropriately

       documented.       Such documentation must contain a

       notation of any mental-health needs expressed by

       inmates, or concerns identified by the qualified

       mental-health professional conducting the round

       as to any inmate.         Documentation of rounds must

       be chronologically filed and maintained by the

       mental-health        manager      or     other      designated

       mental-health staff member.

3.4.    Mental-Health Assessments

  3.4.1.      Each inmate must receive a mental-health

       assessment by a psychiatrist, psychologist, CRNP,

       or counselor within seven days of his or her

       placement in restrictive housing.              Inmates coded



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      as mental-health code A must receive additional

      assessments at least every 90 days, and inmates

      coded as mental-health code B or C must receive

      additional assessments at least every 30 days.

  3.4.2.      Each    mental-health          assessment     must        be

      appropriately documented.

  3.4.3.      Each mental-health assessment must include

      an examination or discussion of the following

      topics:         the     inmate’s      past   response(s)          to

      restrictive housing, if applicable; the inmate’s

      general     appearance         or    behavior;    whether     the

      inmate has a present suicidal ideation; whether

      the inmate has a history of suicidal behavior;

      whether      the      inmate    is    presently     prescribed

      psychotropic medication; whether the inmate has a

      current     mental-health           complaint;    whether     the

      inmate is currently receiving treatment for a

      diagnosed mental-illness; whether the inmate has

      a history of inpatient or outpatient psychiatric

      treatment; whether the inmate has a history of



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       treatment for substance abuse; whether the inmate

       has a history of abuse and/or trauma; and whether

       the inmate is presently exhibiting symptoms of

       psychosis,            depression,           anxiety,        and/or

       aggression.

  3.4.4.        Each mental-health assessment must include

       a determination of whether the inmate requires a

       referral and, if so, how urgently.

3.5.     Out-Of-Cell Time

  3.5.1.        All    inmates       in     RHUs        must    have   the

       opportunity to exercise outside of their cells

       for at least five hours per week, subject to the

       following exception:

       3.5.1.1.       ADOC     may        refrain        from    offering

           out-of-cell time due to inclement weather, but

           only if a safe, alternative space for inmates

           to     exercise--such            as      a      gymnasium--is

           unavailable.




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  3.5.2.      The days and times that out-of-cell time is

       offered,    and    any   inmate’s     decision      to   refuse

       out-of-cell time, must be documented.

3.6.    Security Checks

  3.6.1.      ADOC must perform security checks in RHUs

       at least twice per hour, but no more than 40

       minutes apart.

  3.6.2.      Security       checks      must      be     documented

       accurately and contemporaneously.

  3.6.3.      Correctional officers must regularly verify

       that security checks are conducted as required.

3.1.    Restrictive Housing Cells

  3.1.1.      Within three months of the effective date,

       the cells in the RHUs must be cleaned.

  3.1.2.      Cells in the RHUs must always be cleaned

       before they receive new occupants, and inmates

       must be provided access to cleaning supplies at

       least every two weeks.

  3.1.3.      Within six months of the effective date, all

       cells in the RHUs must comply with the conditions



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         set forth in the checklist developed by Lindsay

         M. Hayes (Doc. 3206-5).

4. Intake

  4.1.      Each intake screening must be conducted by a

     qualified mental-health professional.

  4.2.      Documentation         of         each      inmate’s        intake

     screening--including              an     interpretation       of     the

     results of any psychological assessment--must be

     filed in the inmate’s medical record.

  4.3.      Inmates’ Previous Records

    4.3.1.      If, either during or after intake, an inmate

         reports having previously received mental-health

         services     and   can     correctly         report     the    prior

         mental-health provider, a records request to the

         prior provider must be made within three working

         days    of   the   time       the    inmate    reported       having

         previously received mental-health services.                       If

         the    inmate   reports        having      previously     received

         mental-health      services          and    cannot    remember    or

         correctly       identify           the     prior     mental-health



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         provider, the mental-health staff must reasonably

         attempt to locate records of the inmate’s prior

         treatment.

    4.3.2.      All health records from each inmate’s prior

         facility      of    incarceration              must    be     requested

         within three working days of intake if they are

         not presented at intake.

5. Coding

  5.1.      Each inmate must be assigned a mental-health

     code     and,    if    necessary,        an    SMI        flag,    that   is

     appropriate       to   address      his       or    her    mental-health

     needs, as determined by clinical judgment.

  5.2.      Each inmate’s mental-health code and SMI flag

     must     be     accurately     and       consistently             indicated

     throughout all documents related to his or her care.

6. Referral

  6.1.      A referral must result in a timely clinical

     assessment and/or intervention by a psychiatrist,

     psychologist,          CRNP,     or      counselor.                Emergent

     referrals       must    result      in    a    clinical         assessment



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   and/or intervention as soon as possible but no more

   than four hours from the determination that the

   referral is emergent.              Urgent referrals must result

   in a clinical assessment and/or intervention within

   24 hours of the time the referral was made.                    Routine

   referrals       must    result       in    a    clinical    assessment

   and/or intervention within 14 calendar days of the

   time the referral was made.

6.2.    Communication of Referrals

  6.2.1.      An    emergent       or    urgent      referral    must    be

       communicated verbally, in person or by telephone,

       to the appropriate mental-health staff member or

       members as soon as possible, but in no case longer

       than   one    hour      from     the   time     the    referral   is

       identified as emergent or urgent, absent unusual

       circumstances which detain staff for an extended

       period of time such as a medical emergency or an

       incident involving safety or security of staff or

       inmates.          The   mental-health          staff    member    or

       members      to      whom        the       referral    should     be



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       communicated        will        be         determined    by      the

       mental-health staff.

  6.2.2.      Routine referrals must be communicated to

       the   appropriate      mental-health           staff    member    or

       members, as indicated above, by the next shift by

       leaving the referral form in a location that ADOC

       has    designated          to        the      correctional       and

       mental-health staff, and inmates, as appropriate.

       The monitoring team may alert the court if ADOC

       fails to clearly designate the location.

6.3.    An appropriate triage or mental-health staff

   member     or    members      must       regularly      monitor      any

   designated location for completed referral forms.

   Said staff must review and triage the completed

   referral forms at least once per shift.

6.4.    After      an   inmate     has       received     an    emergent

   referral, including a referral for suicide watch,

   correctional or mental-health staff must maintain

   constant, line-of-sight observation of the inmate




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     until the inmate has been assessed by an appropriate

     mental-health provider.

7. Confidentiality

  7.1.    Individual                counseling                    sessions,

     medication-management               encounters,                 periodic

     mental-health       assessments          of        inmates   in    RHUs,

     suicide-risk       assessments,       and          therapeutic     group

     sessions must take place in settings that provide

     for confidentiality and that, if applicable, are

     out-of-cell, subject to the following exception:

    7.1.1.       Such   services        may        be     provided     in   a

         non-confidential setting if confidentiality is

         not     possible    due   to    safety           concerns     or   is

         otherwise not appropriate.                The question whether

         confidentiality is otherwise not appropriate must

         be answered according to clinical determinations.

    7.1.2.       If confidentiality is not possible, then

         that fact, the reason for it, and any actions

         taken     to   maximize        confidentiality           must      be

         documented in a progress note.



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8. Treatment Teams and Plans

  8.1.    Treatment teams must meet at regular intervals,

     to be determined based on the team chair’s clinical

     judgment, taking into account each inmate’s assigned

     mental-health         code,    housing     unit,   and   level       of

     psychotherapy.

  8.2.    Each treatment team meeting must last for an

     adequate period of time, based on the team chair’s

     clinical judgment.

  8.3.    All members of each inmate’s treatment team must

     have access to clinically relevant documents.

    8.3.1.      Clinically         relevant     documents     are     all

         documents     related       to   the     current     and   past

         condition     of    the     inmate--including        documents

         related      to     the     inmate’s      housing      status,

         disciplinary history, and interactions with other

         inmates--that are necessary to inform clinical

         judgment.

  8.4.    Each inmate on the mental-health caseload must

     have a treatment plan that is adequately detailed



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   and     individualized        to      address     his      or     her

   mental-health needs, based on clinical judgment.

8.5.     Treatment    teams     must    review     and   revise     each

   inmate’s       mental-health          code      as      clinically

   appropriate,       and      must     review     and     amend,       if

   necessary,      each     inmate’s      treatment      plan      after

   changes in the inmate’s mental-health code, transfer

   to a new housing unit, or any other circumstance

   resulting     from     or   likely    to   affect     an   inmate's

   mental-health in a significant way.

8.6.     Coordination of Transfers and Treatment

  8.6.1.      ADOC must consider inmates’ mental-health

       codes and symptoms in making decisions concerning

       transfer between facilities.

  8.6.2.      In the event of a transfer of an inmate on

       the mental-health caseload, the staff member in

       charge of the inmate’s care at the transferring

       facility must send a transfer note to the staff

       member in charge of the inmate’s care at the




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         receiving facility within a reasonable time after

         the transfer is initiated.

9. Psychiatric and Therapeutic Care

  9.1.     Access to Treatment

    9.1.1.       ADOC    must    comply    with    the   Mental-Health

         Treatment Guidance set forth in Appendix A.

    9.1.2.       In addition to the Mental-Health Treatment

         Guidance set forth in Appendix A, each inmate must

         receive any additional care prescribed by his or

         her    treatment       team,    subject   to    the   following

         exception:

         9.1.2.1.       While ADOC must provide each inmate in

               restrictive      housing    with    any   medication       or

               individual therapy prescribed by his or her

               treatment team, it need not provide other forms

               of care prescribed by an inmate’s treatment

               team if those kinds of care cannot be provided

               safely in the restrictive housing environment.




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  9.1.3.       Each treatment session must last for an

       adequate period of time, according to clinical

       judgment.

  9.1.4.       Each housing unit must offer appropriate

       types    and    numbers     of   therapeutic       groups        to

       accommodate the inmates housed there.

9.2.     Out-Of-Cell Time

  9.2.1.       Inmates in the RTU, SU, and SLU must receive

       ten hours of structured, therapeutic out-of-cell

       time and ten hours of unstructured out-of-cell

       time per week, unless clinically contraindicated,

       subject to the following exception:

       9.2.1.1.     ADOC    need      not    provide     ten     hours

           unstructured      out-of-cell      time     per   week       to

           inmates in the RTU Level Three who are housed

           in open dormitories rather than cells.

  9.2.2.       An inmate’s out-of-cell appointments with

       his or her treatment team, psychiatric provider,

       counselor, or therapeutic group will count as

       structured, therapeutic out-of-cell time.



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9.3.     Inmates     who     are     not      on     the    mental-health

   caseload must be seen by mental-health staff in the

   event of a mental-health crisis or after receipt of

   a mental-health referral, as clinically indicated.

9.4.     Progress Notes

  9.4.1.      For    each    significant            clinical          encounter

       between an inmate and a member of his or her

       treatment team, or any qualified mental-health

       professional, a progress note must be created and

       placed in the inmate’s mental-health record.

       9.4.1.1.     A      significant             clinical           encounter

           consists     of   a     communication           or    interaction

           between an inmate and qualified mental-health

           professional          involving           an     exchange            of

           information       used       in    the    treatment            of   the

           inmate,      excluding            any    casual           exchanges,

           administrative           communications,                  or    other

           communications          which      do    not    relate         to   the

           inmate’s        mental        condition              or        ongoing

           mental-health treatment.



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    9.4.2.      Progress notes must be sufficiently detailed

        to facilitate treatment and ensure continuity of

        care

10. Suicide Prevention

  10.1. Immediate Response to Suicide Attempts

    10.1.1. If       ADOC     or   mental-health        vendor     staff

        observe an inmate who is attempting suicide or

        who is unresponsive after apparently attempting

        or completing suicide, the staff must immediately

        call for assistance.

    10.1.2. If       ADOC     or   mental-health        vendor     staff

        observe a suicide threat or attempt, the staff

        must     immediately        respond      with     efforts         to

        interrupt the behavior or attempt.

    10.1.3. Immediate          life-saving       measures      must       be

        performed by ADOC or vendor staff as soon as it

        is deemed safe by correctional staff to do so

        (typically,       when     at   least     two    correctional

        officers are present), and must continue until

        paramedics or other appropriate medical personnel



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      arrive and assume care or a physician declares

      such measures are no longer necessary.

  10.1.4. Each ADOC major facility must maintain an

      appropriate cut-down tool in each RHU, SU, RTU,

      SLU, and crisis unit.

  10.1.5. When continued medical care is necessary,

      an inmate who has attempted suicide must be moved

      to the medical or healthcare unit at the ADOC

      major facility for continued medical care as soon

      as ADOC staff may safely move the inmate, unless

      medically contraindicated.

  10.1.6. If an inmate dies as a result of a suicide,

      the    inmate’s     body    must    be    moved    as    soon     as

      possible to a private area outside of any occupied

      housing     unit    and     outside      the    view    of   other

      inmates.

10.2. Suicide Watch Placement

  10.2.1. After each inmate’s initial placement on

      constant       observation,        the     inmate       must      be

      evaluated      using    a   suicide      risk    assessment       to



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      determine if the inmate is not suicidal or is

      either acutely suicidal or non-acutely suicidal.

  10.2.2. An inmate who is admitted to suicide watch

      must     be      considered        for     placement       on     the

      mental-health caseload.

  10.2.3. If an inmate admitted to suicide watch is

      not placed on the mental-health caseload, the

      clinical        rationale    for    that     decision      must    be

      documented in the inmate’s medical chart.

  10.2.4. Before an inmate is placed on suicide watch,

      a nurse must examine the inmate and complete a

      body chart.

10.3. Suicide Watch Cells

  10.3.1. All suicide watch and stabilization unit

      cells      in     ADOC      major        facilities      must     be

      suicide-resistant.           On a quarterly basis during

      the term of this order, all suicide watch cells

      in   ADOC       major    facilities       must     be   physically

      inspected        to     determine        whether    they    remain

      suicide-resistant.



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     10.3.1.1.      Cells shall be deemed suicide-resistant

          if they meet the requirements set forth in

          Lindsay M. Hayes’s Checklist for the “Suicide

          Resistant” Design of Correctional Facilities

          (Doc. 3206-5).

     10.3.1.2.      Before an inmate is placed in an SU or

          suicide watch cell, the cell must be cleaned

          and any contraband must be removed from the

          cell.

  10.3.2. ADOC may designate areas or cells where

      inmates could be temporarily placed when a suicide

      watch    cell    is   unavailable,       provided     that    the

      inmate     remains     on   constant    observation       during

      this time.

10.4. Observation

  10.4.1. Any inmate determined to be acutely suicidal

      must be monitored through a constant observation

      procedure.

  10.4.2. Any       inmate     determined      to   be   non-acutely

      suicidal must be monitored through a close watch



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      procedure that ensures monitoring at staggered

      intervals not to exceed 15 minutes.

  10.4.3. During constant observation or close watch,

      an observer must contemporaneously document his

      or her observations at staggered intervals not to

      exceed 15 minutes.           Upon an inmate’s discharge

      from suicide watch, his or her observation records

      must be maintained in his or her medical record.

  10.4.4. ADOC must take appropriate steps to ensure

      that observers perform their duties as required.

10.5. Suicide Watch Conditions

  10.5.1. Unless clinically contraindicated, inmates

      on    suicide     watch     must     be   provided        adequate

      suicide-resistant         implements       for     hygiene     and

      eating as clinically appropriate.

  10.5.2. Inmates on suicide watch must receive the

      same privileges afforded by their last housing

      assignment as clinically appropriate.

  10.5.3. Inmates         housed      in   crisis      cells,    medical

      cells,      or    the     infirmary       must     be     provided



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      appropriate           out-of-cell       activity,         unless

      clinically contraindicated, after 72 hours.

10.6. Referrals to Higher Levels of Care

  10.6.1. If an inmate remains on suicide watch for

      72 hours, then he or she must be considered for

      referral to a different or higher level of care

      based on clinical judgment.             If the inmate is not

      referred to a different or higher level of care,

      then the clinical rationale must be documented in

      the inmate’s medical chart and tracked in the

      crisis     utilization       log   or   a    similar    tracking

      mechanism.

  10.6.2. If an inmate remains on suicide watch for

      168 hours, then the he or she must be considered

      for referral to a different or higher level of

      care based on clinical judgment.                 If the inmate

      is not referred to a different or higher level of

      care,     then    the       clinical    rationale       must      be

      documented       in   the    inmate’s       medical    chart   and




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      tracked in the crisis utilization log or a similar

      tracking mechanism.

  10.6.3. If an inmate remains on suicide watch for

      240 hours or longer and does not meet the criteria

      for discharge to outpatient mental-health care,

      then he or she must be considered for referral to

      a different or higher level of care based on

      clinical judgment.         If the inmate is not referred

      to a different or higher level of care, then the

      clinical     rationale      must    be   documented      in   the

      inmate’s medical chart and tracked in the crisis

      utilization log or a similar tracking mechanism,

      and documentation of the decision must be sent to

      the mental-health vendor’s director of psychiatry

      for review and evaluation.

  10.6.4. Any inmate who is returned to suicide watch

      within 30 days of discharge from a suicide watch

      and/or who has three suicide watch placements

      within six months must be considered for referral

      to a different or higher level of care based on



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      clinical judgment.          If the inmate is not referred

      to   a   different     or    higher     level    of   care,   the

      clinical      rationale          must   be   documented,      and

      mental-health        staff       must   notify    OHS   of    the

      decision and provide the clinical rationale to

      OHS within 72 hours.

10.7. Discharge

  10.7.1. Discharge Evaluation

     10.7.1.1.      Prior to being discharged from suicide

           watch, an inmate must receive an out-of-cell,

           confidential      evaluation       by   a   psychiatrist,

           psychologist, CRNP, or counselor, unless such

           evaluation is not possible due to documented

           clinical concerns.

     10.7.1.2.      If     an      out-of-cell,         confidential

           evaluation is not possible due to documented

           clinical concerns, staff must consider whether

           referral to a different or higher level of care

           is appropriate.

  10.7.2. Discharge to RHU



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     10.7.2.1.      An inmate discharged from suicide watch

          must not be transferred to an RHU, unless there

          is a documented exceptional circumstance.

     10.7.2.2.      Any transfer of an inmate from suicide

          watch to an RHU must be approved by the Deputy

          Commissioner         of     Operations        (for       male

          facilities) or Deputy Commissioner of Women’s

          Services      (for    female    facilities)       or    their

          designee.

10.8. Follow-Up

  10.8.1. After an inmate’s discharge from suicide

      watch,      mental-health        staff     must    conduct        a

      follow-up      mental-health        examination      with     the

      inmate on each of the first three days following

      discharge, unless there is a documented clinical

      determination that the inmate was not suicidal at

      the time the inmate was placed on suicide watch

      and did not become suicidal during the watch

      placement.




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  10.8.2. Follow-up mental-health examinations must

      not     take       the     place    of      other    scheduled

      mental-health        appointments,       although     they    may

      occur in connection with or contiguous with such

      appointments.

  10.8.3. Follow-up mental-health examinations must

      occur    in    a   confidential,      out-of-cell      setting,

      unless such examination is not possible due to

      documented clinical concerns.

  10.8.4. During           the        follow-up       mental-health

      examinations, the mental-health staff conducting

      such follow-up mental-health examinations must

      assess whether the inmate released from suicide

      watch is showing signs of ongoing crisis, whether

      the inmate needs further follow-up mental-health

      examinations, and whether the inmate should be

      added to the mental-health caseload or assigned a

      different mental-health code.

  10.8.5. An inmate’s transfer from suicide watch to

      another institution prior to the completion of



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        the three ordered follow-up examinations restarts

        the     requirement          to        complete        a        follow-up

        mental-health examination on each of the three

        days following the transfer.

11. Higher Levels of Care

  11.1. ADOC      must     ensure     that       inmates       who       require

     hospital-level care receive it within a reasonable

     period of time, as determined by clinical judgment.

  11.2. Inpatient Beds

    11.2.1. ADOC must supply enough beds to accommodate

        10 % of its mental-health caseload at the time of

        the effective date.

    11.2.2. In collaboration with the EMT, ADOC must,

        on at least an annual basis, reassess (1) the

        number      of     inmates        on     ADOC’s        mental-health

        caseload,        and   (2)   whether       10%    is       in    fact   an

        accurate estimate of the percentage of the mental-

        health caseload requiring inpatient treatment.

        If ADOC determines that more than 10 % of the

        inmates     on    the   mental-health            caseload         require



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      inpatient       beds,     or    that     the    mental-health

      caseload has grown, or both, it must adjust its

      number of inpatient beds accordingly.

  11.2.3. At        all    times,     ADOC    must     ensure     that

      inpatient beds are housed in treatment spaces that

      allow for confidentiality, including by creating

      any new treatment spaces if necessary.

11.3. ADOC must devise a plan and procedures to address

   the serious risk posed by high temperatures in the

   mental-health units, which it must submit to the

   court by May 2, 2022.          The plan and procedures must

   address, specifically, how it happened that Tommy

   Lee Rutledge’s cell reached 104 degrees, causing him

   to die of hyperthermia, in a unit that was supposedly

   air conditioned, and how the ADOC will prevent that

   from ever occurring again.            The plan and procedures

   must    also    address     how    ADOC   plans    to    determine

   whether cells in each of its facilities have reached

   dangerously high temperatures, and should such a




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     finding be made, what measures ADOC will take to

     ensure their occupants’ safety.

12. Discipline

  12.1. ADOC must comply with §§ V.B.2, V.C.3.a, and

     V.C.3.d of ADOC Administrative Regulation 626, all

     of which are set forth in Appendix B.

  12.2. ADOC must comply with §§ V.D.3 and V.D.3.b, and

     the    excerpted      provision      of    §     V.D.4,   of   ADOC

     Administrative Regulation 626, all of which are set

     forth in Appendix B.

13. Training

  13.1. ADOC must document its provision of training

     regarding         the       Comprehensive           Mental-Health

     Curriculum,      suicide     prevention,         confidentiality,

     mental-health rounds in restrictive housing units,

     emergency     preparedness,        discipline,      suicide    risk

     assessments,        correctional          risk     factors,      and

     observation on suicide watch.

  13.2. For training purposes, on a quarterly basis,

     ADOC and/or its mental-health vendor must conduct



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   emergency preparedness drills at each ADOC major

   facility, including scenarios involving self-injury

   and     suicide     attempts.             During     the   emergency

   preparedness drills, the trainers must evaluate the

   correctional and medical staff response time to the

   emergency      code    and        their   preparedness        for   the

   emergency code (including, as appropriate, presence

   of      an    emergency            bag,     automatic         external

   defibrillator         (or     AED),       and      cut-down     tool).

   Additionally, the emergency preparedness drills must

   include role-playing for participants to practice

   the     response      to     an    emergency,       including,      for

   example, using a cut-down tool, rendering first aid,

   and   performing       cardiopulmonary          resuscitation       (or

   CPR).

13.3. Observers          must    receive       additional        training

   related to their observation obligations, including

   where they must be positioned and how to access

   assistance if an inmate requires medical care or

   there is an emergency.



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14. Unforeseen Circumstances

  14.1. “Unforeseen circumstances” refer to a situation

     in which an event or series of events (such as a

     natural disaster, fire, medical epidemic, pandemic,

     or outbreak, and lockdown) make performance under

     this      omnibus         remedial         order      inadvisable,

     impracticable, illegal, impossible, detrimental to

     the health and/or safety of inmates and/or staff, or

     detrimental to the public interest.

  14.2. In      monitoring      ADOC’s      compliance      with     this

     omnibus     remedial      order,     the    EMT    shall   consider

     unforeseen circumstances, their effects on ADOC’s

     ability    to    comply    with    the     remedial    order,    and

     ADOC’s efforts to mitigate the effects of those

     circumstances.

  15. This order is not final and remains open in that

  the parties must still submit proposals for further

  and/or different relief and monitoring may warrant

  consideration and reconsideration of issues. The court

  also retains jurisdiction.



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  DONE, this the 27th day of December, 2021.

                                   /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE




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                                Appendix A


        The Defendants’ Mental-Health Treatment Guidance
Treatment Category         Initial Assessment        Subsequent Care




SU                         An RN will assess the     Typically, structured,
                           inmate on an emergent     out-of-cell activities
                           basis after arrival to    during each week will
                           the SU and make any       include a daily
                           necessary arrangements    interaction with a RN,
                           on an emergent, urgent,   psychologist, or
                           routine, or another       counselor and more than
                           basis for a psychiatric   one clinical encounter
                           assessment and/or         with a psychiatrist or
                           counseling assessment.    CRNP.
RTU (Levels 1-3)           An RN will assess the     Typically, structured,
                           inmate on an urgent       out-of-cell activities
                           basis after arrival to    during each week will
                           the RTU and make any      include multiple
                           necessary arrangements    interactions with an RN,
                           on an emergent, urgent,   psychologist, or
                           routine, or another       counselor and a clinical
                           basis for a psychiatric   encounter with a
                           assessment and/or         psychiatrist or CRNP.
                           counseling assessment.
SLU                        An RN will assess the     Typically, structured,
                           inmate on an urgent       out-of-cell activities
                           basis after arrival to    during each week will
                           the SLU and make any      include multiple
                           necessary arrangements    interactions with an RN,
                           on an emergent, urgent,   psychologist, or
                           routine, or another       counselor and a clinical
                           basis for a psychiatric   encounter with a
                           assessment and/or         psychiatrist or CRNP
                           counseling assessment.    based on clinical
                                                     judgment.
Outpatient                 A treatment team member   Psychiatrist or CRNP:
                           will assess the inmate    Every 90 days, unless
                           on a routine basis.       otherwise clinically
                                                     indicated.

                                                     Psychologist or
                                                     counselor: Every 90
                                                     days, unless otherwise
                                                     clinically indicated.




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                             Appendix B


ADOC Administrative Regulation 626, § V.B.2:

“A mental health consultation may be sought at the time
of the rule or regulation violation or after review of
the disciplinary report.   A mental health consultation
must be sought if the inmate is on the mental health
caseload and has a mental health code of C or higher
and/or an SMI designation; or, even if the inmate has a
lower mental health code or is not on the mental health
caseload, where the inmate has an intellectual or
developmental disability, or the inmate’s behavior at the
time of the alleged actions giving rise to the
disciplinary or at any time prior to or during the
disciplinary process demonstrates signs of psychological
distress or mental impairment.”


ADOC Administrative Regulation 626, § V.C.3.a:

“A mental health staff member performing the mental
health consultation will evaluate: (1) an inmate’s
current and then-existing (at the time of the incident)
mental state, including the inmate’s capacity to
proceed with a disciplinary hearing; (2) an inmate’s
mental health diagnosis or, for an inmate not
previously diagnosed, the presence of mental illness;
(3) an inmate’s treatment and medication (including any
compliance issues) over the past six (6) months; (4)
any crisis placements over the past six (6) months; (5)
whether the inmate’s behavior resulting in an ADOC rule
or regulation violation is the direct result of or
related to his or her mental illness; (6) the likely
impact of confinement to restrictive housing on an
inmate’s mental health and, based on the likely impact,
if confinement to restrictive housing for a medium- or
high-level rule violation is contraindicated; (7) the


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potential impact of other disciplinary sanctions on the
inmate’s mental state, including whether any specific
disciplinary sanction is clinically contraindicated for
the inmate and, in such instances, what alternative
sanctions are not clinically contraindicated; and (8)
the need for mental health staff to be present during
the disciplinary hearing.”


ADOC Administrative Regulation 626, § V.C.3.d:
“The mental health staff member performing the mental
health consultation will document his or her evaluation
and provide any comments, notes, and recommendations in
the ADOC computer module. A mental health staff member
may   identify    disciplinary   sanctions    that   are
contraindicated for the inmate and any appropriate
alternative disciplinary sanctions. A copy of the mental
health consultation evaluations and recommendations will
be (a) provided to the disciplinary hearing officer for
consideration and to maintain with the inmate’s
disciplinary action file, and (b) placed in the inmate’s
mental health record to ensure the inmate’s treatment
team may receive and review it.”


ADOC Administrative Regulation 626, § V.D.3:

“During the disciplinary hearing and/or before the
disciplinary   officer   adjudicates   the   disciplinary
action, the disciplinary officer must consider the mental
health consultation, including any evaluation, comments,
or recommendations, in deciding an inmate’s guilt or
innocence and, if guilty, in imposing any disciplinary
sanctions.”


ADOC Administrative Regulation 626, § V.D.3.b:




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“If the mental health staff member performing the mental
health consultation concludes that the rule or regulation
violation was related to, but not the direct result of,
the inmate’s mental illness, then the disciplinary
hearing   officer   must  take   that   conclusion   into
consideration in imposing any disciplinary sanctions.”



ADOC Administrative Regulation 626, § V.D.4:

“[I]f the mental health staff member who conducted the
mental health consultation determined that any specific
disciplinary sanction is clinically contraindicated for
the inmate, including confinement to restrictive
housing for a medium- or high-level rule or regulation
violation, then the decision of the mental health staff
member who performed the mental-health consultation
will be outcome determinative and binding on the
disciplinary hearing officer, except where exceptional
circumstances exist.”




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